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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
DONNA CURLING, ef ai.
Plaintiffs,
CIVIL ACTION
v.

FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

Defendants.

 

 

DECLARATION OF THERESA PAYTON

Pursuant to 28 U.S.C. § 1746, I, Theresa Payton, make the following
declaration:

L.

My name is Theresa Payton. I am over the age of 21 years, and | am under
no legal disability which would prevent me from giving this declaration, I have
been retained as an expert for the State Defendants in this matter and if called to
testify, I would testify under oath to these facts.

2.
I am the Chief Executive Officer of Fortalice Solutions. Fortalice Solutions

is a full-service cybersecurity company that offers businesses and governments a
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full suite of cybersecurity services, including cybersecurity assessments, vendor
assessments, red teaming and penetration testing, review of cybersecurity policies
and procedures, and cyber incident response and analysis.

3.

Prior to founding Fortalice, I was Chief Information Officer for The Office
of Administration, Executive Office of the President at the White House from
2006-2008, overseeing all information technology and information security
functions. I am the co-author of numerous books and articles regarding cyber-
security, including Privacy in the Age of Big Data: Recognizing Threats,
Defending Your Rights, and Protecting Your Family, and Protecting Your Internet
identity: Are You Naked Online? I was named one of the 25 Most Influential
People in Security by Security Magazine.

4.

Pursuant to this Court’s direction at the July 17, 2019 telephone conference,

I have included Matthew Shirley’s bio, which is attached as Exhibit A.
5.

Mr. Shirley will assist me in this proposed review as a Senior Security

Engineer. Shirley is a cyber security professional with experience in the financial,

retail, healthcare, automotive, entertainment and manufacturing industries. As a
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Senior Security Engineer within the Commercial Services division of Fortalice
Solutions, he emulates modern attacker tools, techniques, and procedures (TTPs);
uses adversarial approaches while performing a full range of penetration tests;
participates in and leads efforts to develop new cyber capabilities and
methodologies; reviews and critiques system and network security solutions; and
develops detailed reports on findings and remediation recommendations. Mr.
Shirley received his B.A. in Information Science and Technology from Temple

University.

6.
Mr. Shirley will assist Mr. Brandau and me in our review of the malware,
according to the guidelines set forth by this Court at the July 17, 2019 telephone
conference.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 19th day of July, 2019. Se-

THERESA PAYTON
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EXHIBIT A
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Fortalice

Matt Shirley, Senior Security Engineer

Matt Shirley is a cyber security professional with experience in multiple industries, including
financial, retail, healthcare, automotive, entertainment, and manufacturing. Over the course of
his career, Shirley has focused on providing guidance to clients regarding ways in which their
overail information security posture may be improved. As a Senior Security Engineer within the
Commercial Services division of Fortalice Solutions, he emulates modern attacker tools,
techniques, and procedures (TTPs); uses adversarial approaches while performing a full range
of penetration tests; participates in and leads efforts to develop new cyber capabilities and
methodologies; reviews and critiques system and network security solutions; and develops
detailed reports on findings and remediation recommendations.

Prior to joining Fortalice, Shirley served as a security consultant and used his expertise to lead
and execute external/internal vulnerability assessment penetration tests, vehicle telematics and
infotainment penetration tests, web application penetration tests, social engineering
assessments (physical, email, and phone based), IT General control audits, wireless protocol
penetration tests (Wi-Fi, Bluetooth, BLE, etc.), ATM penetration tests and audit programs in
order to provide recommendations for effective remediation of discovered vulnerabilities.
Shirley attended Temple University where he earned his B.A. in Information Science and
Technology.
